Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 1 of 18




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

   Civil Action No. 16-cv-00175-REB-CBS

   DEBORAH TROUDT, et al.,

           Plaintiffs,

   v.

   ORACLE CORPORATION, et al.,

           Defendants.


               ORDER RE: PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

   Blackburn, J.

           The matter before me is Plaintiffs’ Motion for Class Certification [#104],1 filed

   June 30, 2017. I grant the motion on the terms set forth herein.

                                            I. JURISDICTION

           I have jurisdiction over this matter under 28 U.S.C. §1331(federal question) and

   29 U.S.C. § 1132(e)(1) (ERISA).

                                      II. STANDARD OF REVIEW

           Pursuant to Fed. R. Civ. P. 23, a class may be certified if the following

   requirements are met: (1) the class is so numerous that joinder of all members is

   impracticable; (2) there are questions of law or fact common to the class; (3) the claims

   or defenses of the representative parties are typical of those of the class, and; (4) the

   representative parties will protect the interests of the class adequately. In addition, one

           1
              “[#104]” is an example of the convention I use to identify the docket number assigned to a
   specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
   convention throughout this order.
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 2 of 18




   of the three alternative requirements outlined in Rule 23(b) also must be satisfied.

   Sibley v. Sprint Nextel Corp., 254 F.R.D. 662, 670 (D. Kan. 2008).

          The question whether to certify a class certification is committed to the sound

   discretion of the trial court. Anderson v. City of Albuquerque, 690 F.2d 796, 799 (10th

   Cir. 1982). As the proponent of class certification, plaintiffs bear a “strict burden of

   proof” to demonstrate the requirements of Rule 23 are satisfied. Trevizo v. Adams,

   455 F.3d 1155, 1162 (10th Cir. 2006). Nevertheless, because a certified class may be

   altered, expanded, subdivided, or abandoned as the case develops, Daigle v. Shell Oil

   Co., 133 F.R.D. 600 (D. Colo. 1990), doubts as to the propriety of entertaining a class

   action should be resolved in favor of certification, see Esplin v. Hirschi, 402 F.2d 94,

   99 (10th Cir. 1968) (“[I]f there is to be an error made, let it be in favor and not against the

   maintenance of the class action, for it is always subject to modification should later

   developments during the course of the trial so require.”).

                                          III. ANALYSIS

          This lawsuit concerns the Oracle 401(k) Savings and Investment Plan (“the

   Plan”), a defined contribution retirement benefits plan sponsored and maintained by

   defendant Oracle Corporation (“Oracle”) for the benefit of its employees. Oracle is the

   named fiduciary and administrator of the Plan. The Plan currently has more than

   70,000 participants and manages over $12 billion in assets.

          Pursuant to the terms of a Trust Agreement, Oracle delegated to the Oracle

   Corporation 401(k) Committee (“the Committee”), inter alia, its fiduciary responsibility for




                                                  2
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 3 of 18




   determining investment options for the Plan.2 It also delegated its duties to serve as

   recordkeeper and trustee for the Plan to Fidelity Management Trust Company

   (“Fidelity”). In return for these services, Oracle agreed to pay Fidelity reasonable

   administrative expenses.

          By this lawsuit, named plaintiffs seek to represent a class consisting of

                   All participants and beneficiaries of the Oracle Corporation
                   401(k) Savings and Investment Plan from January 1, 2009
                   through the date of judgment, excluding the Defendants.

   This putative class asserts four claims based on two primary allegations: (1) that

   defendants allowed Fidelity to collect excessive and unreasonable recordkeeping and

   administrative fees from the Plan; and (2) that defendants caused the Plan to make

   certain imprudent investments. Defendants do not oppose class certification per se, but

   argue plaintiffs’ proposed class definition does not meet the requirements of Rule 23.

          I begin by examining that definition. “Although not mentioned specifically in Rule

   23 itself, a prerequisite to class certification is an appropriate class definition.” Maez v.

   Springs Automotive Group, LLC, 268 F.R.D. 391, 394 (D. Colo. 2010). The

   adequacy of the class definition must be determined before the court addresses the

   other requirements of Rule 23. Warnick v. Dish Network, LLC, 301 F.R.D. 551, 556

   (D. Colo. 2014), appeal dismissed (October 7, 2015). This latent aspect of the class

   certification inquiry – the question of “ascertainability” – “ensures that a proposed class

   will actually function as a class” by ensuring “that class members can be identified.”

   Byrd v. Aaron’s Inc., 784 F.3d 154, 162 (3rd Cir. 2015) (emphasis in original).



          2
              The individual defendants are all members of the Committee.

                                                      3
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 4 of 18




          A class is sufficiently defined when potential class members can be identified by

   reference to objective criteria. Rhodes v. Olson Associates, P.C., 83 F.Supp.3d 1096,

   1111-12 (D. Colo. 2015). “[T]he description of the class must be sufficiently definite so

   that it is administratively feasible for the court to ascertain whether a particular individual

   is a member.” Joseph v. General Motors Corp., 109 F.R.D. 635, 639 (D. Colo. 1986).

   “[T]he district court has broad discretion to determine whether the class description is

   sufficiently definite.” 5 James W. Moore et al., MOORE’S FEDERAL PRACTICE § 23.21[5]

   at 23-61 (3rd ed. 1999).

          That prerequisite is ostensibly met in this case. “ERISA [fiduciary] litigation ...

   presents a paradigmatic example of a [Rule 23](b)(1) class.” In re Global Crossing

   Securities & ERISA Litigation, 225 F.R.D. 436, 453 (S.D.N.Y. 2004) (internal

   quotation marks omitted). Indeed, defendants do not suggest this class is

   unascertainable. Rather, they claim plaintiff’s definition is both (1) overly broad

   generally in terms of its proposed time frame; and (2) with respect to the imprudent

   investment claims particularly, insufficiently specific in terms of which Plan participants

   and beneficiaries may be part of that class. The later argument will be addressed more

   fully in the context of considering the requirements of Rule 23(a).

          As for the former, defendants suggest the proposed class must be limited by the

   applicable six-year statute of repose which applies to ERISA claims. See 29 U.S.C. §

   1113(1). Fulghum v. Embarq Corp., 785 F.3d 395, 415 (10th Cir.), cert. denied, 136

   S.Ct. 537 (2015). However, I concur with plaintiffs that such a determination is

   premature. The Amended Complaint alleges defendants concealed the various

   breaches of their fiduciary duties on which plaintiffs’ claims are based (see Am. Compl.

                                                 4
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 5 of 18




   ¶ 59 at 18 & ¶¶ 72-75 at 25-26 [#84], filed May 26, 2017), which circumstance, if

   proven, would toll limitations, see 29 U.S.C. § 1113. It would be inappropriate at this

   early juncture to attempt to discern the merits of those allegations. See Kanawi v.

   Bechtel Corp., 254 F.R.D. 102, 112 (N.D. Cal. 2008); Taylor v. United Technologies

   Corp., 2008 WL 2333120 at *6 (D. Conn. June 3, 2008).

          For the present, therefore, I will certify a class defined by the time frame

   suggested by plaintiffs, subject to later modification if discovery fails to bear out the truth

   of plaintiffs’ allegations of concealment. See FED. R. CIV. P. 23(c)(1)(C); In re Integra

   Realty Resources, Inc., 354 F.3d 1246, 1261 (10th Cir. 2004) (“[A] trial court

   overseeing a class action retains the ability to monitor the appropriateness of class

   certification throughout the proceedings and to modify or decertify a class at any time

   before final judgment.”).

          Having so concluded, I now turn to the explicit requirements of Rule 23. As

   noted above, defendants do not oppose certification of this action as a class action, but

   only challenge the manner in which plaintiffs purport to define the class as regards the

   imprudent investment claims. Examining the requirements of Rule 23, I agree with

   defendants that certification of more tightly defined subclasses as to those claims is

   appropriate here, as discussed in more depth below.

          There is no question here but that the proposed class, however defined or

   subdivided, satisfies the requirement of numerosity. FED. R. CIV. P. 23(a)(1) (proposed

   class must be so numerous that joinder of all members of the class is impracticable). As

   of December 31, 2014, the Plan had more than 65,000 participants; it now has more



                                                  5
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 6 of 18




   than 70,000. Regardless whether the class is defined as a single entity, as plaintiffs

   suggest, or as several subclasses, as defendants would have it, the class is sufficiently

   numerous to satisfy Rule 23(a)(1).3

            Moreover, with respect to the excessive administrative fees claim, defendants do

   not argue that the proposed class fails to meet the other requirements of Rule 23(a). As

   to this claim, there plainly exist “common questions of law or fact” the resolution of which

   will affect all or a significant number of the members of the proposed class. FED. R. CIV.

   P. 23(a)(2). See also Maez v. Springs Automotive Group, LLC, 268 F.R.D. 391, 395

   (D. Colo. 2010). In addition, the claims of the proposed class representatives are typical

   of – indeed, identical to – the claims of the class. FED. R. CIV. P. 23(a)(3); Adamson v.

   Bowen, 855 F.2d 668, 676 (10th Cir. 1988); Milonas v. Williams, 691 F.2d 931, 938

   (10th Cir. 1982), cert. denied, 103 S.Ct. 1524 (1983). It thus appears clear that “the

   named plaintiff[s’] claim and the class claims are [sufficiently] interrelated” so “that

   maintenance of a class action is economical” with respect to the administrative fees

   claim. General Telephone Company of Southwest v. Falcon, 457 U.S. 147, 157 n.13,

   102 S.Ct. 2364, 2370 n.13, 72 L.Ed.2d 740 (1982). The interrelated requirements of

   commonality and typicality therefore are satisfied with respect to the administrative fees

   claim.

            For similar reasons, the final requirement of Rule 23(a) – adequacy – likewise is

   easily met with respect to this claim. FED. R. CIV. P. 23(a)(4). This requirement is



            3
            All these participants are implicated by the putative administrative fees claim. Although only
   some subset are implicated by the imprudent investment claims, defendants do not suggest these
   subclasses – for which they advocate – are insufficiently numerous to satisfy Rule 23(a)(1).

                                                        6
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 7 of 18




   intended to ensure the class representative has sufficient interests in common with the

   class that she adequately will assert and protect the interests of the class. Maez, 268

   F.R.D. at 396-97. There is a presumption in favor of a finding of adequacy, see id. at 39,

   and which defendants have presented neither argument nor evidence to attempt to

   overcome. I therefore find the named representatives are adequate and will be able to

   control the litigation and to protect the interests of the class as a whole insofar as the

   excessive fees claim in concerned. Moreover, as discussed further below, I conclude

   also that counsel for the named plaintiffs has demonstrated ample competence to

   represent the named plaintiffs and the class in this case.

          The analysis is rather more complicated in considering plaintiffs’ imprudent

   investment claims, however. Plaintiffs advocate for their proposed omnibus class

   definition on the basis that common contentions of fact and principles of law inform all

   their claims, namely: whether each defendant breached its fiduciary duty or engaged in

   a prohibited transaction as alleged; whether the Plan suffered losses and the amount

   thereof; and what kind of equitable relief may be appropriate. Defendants insist,

   however, that the requirements of at least typicality and adequacy are not met with

   respect to the definition of the imprudent investment class because not all participants

   nor all named putative class representatives were invested in those funds.

          This argument draws from the Seventh Circuit’s decision in Spano v. Boeing Co.,

   633 F.3d 574 (7th Cir. 2011).4 The court began by noting the distinction between a

   defined benefit plan and a defined contribution plan: “The former plans assure



          4
              Spano in fact consolidated two appeals, the second being Beesley v. Inernational Paper Co.

                                                      7
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 8 of 18




   participants whose rights had [sic] vested that they will receive a specified payout upon

   retirement, while the latter plans make no such promise.” Spano, 633 F.3d at 578. The

   court continued:

                 For many years, most retirement plans took the form of a
                 defined-benefit plan, and this fact is reflected in the earlier
                 Supreme Court decisions in this area. In Massachusetts
                 Mutual Life Insurance Co. v. Russell, 473 U.S. 134, 148,
                 105 S.Ct. 3085, 87 L.Ed.2d 96 (1985), the Court held that a
                 fiduciary to a defined-benefit plan could not be held
                 personally liable to a plan participant or beneficiary for
                 damages that resulted from improper or untimely processing
                 of benefit claims. . . . Instead, the Court held, "[T]he entire
                 text of § 409 persuades us that Congress did not intend that
                 section to authorize any relief except for the plan itself." . . .
                 The key fiduciary duties that the statute addressed, [the
                 Court] added, "relate to the proper management,
                 administration, and investment of fund assets, the
                 maintenance of proper records, the disclosure of specified
                 information, and the avoidance of conflicts of interest."

                 These rules apply in a straightforward way to defined-benefit
                 plans. Employers typically hold a pool of assets in trust for
                 the plan, and that plan is administered by trustees who are
                 fiduciaries with respect to those assets. Russell held that
                 section 502(a)(2) applies only if there is a plan-wide breach,
                 although the Court had no need to consider what might
                 amount to injury to the plan outside the context of
                 defined-benefit plans. Restoring funds to the plan, for a
                 defined-benefit plan, assures that the plan will have enough
                 funds to remain actuarially sound. Each participant is
                 affected in the same way by anything that diminishes the
                 fund's assets.

   Id. at 578-79 (internal citations omitted).

          The Court later considered these principles in the context of claims against a

   defined-contribution plan in LaRue v. DeWolff, Boberg & Associates, Inc., 552 U.S.

   248, 128 S.Ct. 1020, 169 L.Ed.2d 847 (2008). See Spano, 633 F.3d at 579. The



                                                 8
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 9 of 18




   plaintiff in LaRue alleged his 401(k) plan’s fiduciaries had breached their duties to him in

   failing to carry out his instructions to make certain changes to the investments in his

   account, depleting his interest in the plan by some $150,000. LaRue, 128 S.Ct. at

   1022-23. The lower courts found the plaintiff’s claims to be personal to him, rather than

   stating injury to the plan as a whole, and therefore found them barred under the aegis of

   Russell. The Supreme Court disagreed. As summarized in Spano,

                 [t]he Supreme Court. . . made the critical statement that “the
                 legal issue under § 502(a)(2) is the same whether [LaRue's]
                 account includes 1% or 99% of the total assets in the plan.”
                 That part of ERISA, it noted, “authorizes the Secretary of
                 Labor as well as plan participants, beneficiaries, and
                 fiduciaries, to bring actions on behalf of a plan to recover for
                 violations of the obligations defined in § 409(a).” It reviewed
                 those obligations, underscoring that the fiduciary duties
                 under section 409 “relate to the plan's financial integrity and
                 reflect a special congressional concern about plan asset
                 management.” LaRue, it then stated, had alleged
                 misconduct that fell “squarely within th[ose] categor[ies.]”

   Spano, 633 F.3d at 579-80 (internal citations omitted). Whereas, “[m]isconduct by the

   administrators of a defined benefit plan will not affect an individual's entitlement to a

   defined benefit unless it creates or enhances the risk of default by the entire plan,”

                 [f]or defined contribution plans . . . fiduciary misconduct need
                 not threaten the solvency of the entire plan to reduce
                 benefits below the amount that participants would otherwise
                 receive. Whether a fiduciary breach diminishes plan assets
                 payable to all participants and beneficiaries, or only to
                 persons tied to particular individual accounts, it creates the
                 kind of harms that concerned the draftsmen of § 409.

   LaRue, 128 S.Ct. at 1025.

          Applying LaRue, the Seventh Circuit already had held “that § 502(a)(2), and thus

   § 409(a), may be used by the beneficiary of a defined-contribution account that suffers a


                                                 9
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 10 of 18




    loss, even though other participants are uninjured by the acts said to constitute a breach

    of fiduciary duty.” Rogers v. Baxter International Inc., 521 F.3d 702, 705 (7th Cir.

    2008). In none of those cases, however, had the question arisen as to how actions for

    breach of fiduciary duty implicating a defined-contribution plan should proceed when

    class-wide relief was sought. As the Spano court noted,

                 While LaRue leaves no doubt that plan beneficiaries are
                 entitled to resort to section 502(a)(2) after a breach of
                 fiduciary duty reduces the value of plan assets in their
                 defined-contribution accounts, that tells us very little about
                 whether or under what circumstances employees resorting
                 to section 502(a)(2) may properly proceed as a class under
                 Federal Rule of Civil Procedure 23. To determine whether
                 class treatment is appropriate, we must distinguish between
                 an injury to one person's retirement account that affects only
                 that person, and an injury to one account that qualifies as a
                 plan injury. The latter kind of injury potentially would be
                 appropriate for class treatment, while the former would not.

    Spano, 633 F.3d at 581.

          The court identified at least three instances in the latter category, in which losses

    occurring in one account possibly could diminish plan assets as a whole: (1) when, by

    imprudent management, a fiduciary causes a particular account to have less valuable

    than it would have been under prudent management; (2) when the plan administrator

    charges excessive fees; and (3) when the plan has been reckless in the investment

    options offered, “offering nothing but junk-rated bonds or highly leveraged packages.”

    Id. at 581-82. Yet the court did not take a categorical approach, noting that whether any

    of these circumstances in fact did diminish plan – as opposed merely to individual –

    assets, and therefore was appropriate for class treatment, would turn on the particular

    circumstances of each case. Id. at 582.


                                               10
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 11 of 18




           With that groundwork in place, the court proceeded to consider whether the class

    certified in Spano met the requirements of Rule 23. While noting that “[t]he assertion

    that Boeing imposes excessive fees on all participants, as well as the assertion that

    Boeing has failed to satisfy its fiduciary duties in its selection of investment options, both

    describe problems that would operate across the plan rather than at the individual

    level,” and thus satisfy the numerosity and commonality requirements, the court found

    the class definition adopted by the district court – described as “breathtaking in its

    scope” – presented problems in terms of typicality and adequacy. Id. at 586 (“Anyone,

    in the history of Time, who was ever a participant in the Boeing Plan, or who in the

    future may become a participant in the Boeing Plan, is swept into this class.”). Because

    typicality demands “enough congruence between the named representative's claim and

    that of the unnamed members of the class to justify allowing the named party to litigate

    on behalf of the group,” the court held “ that a class representative in a

    defined-contribution case would at a minimum need to have invested in the same funds

    as the class members.” Id. “[T]hus we think that there must be a congruence between

    the investments held by the named plaintiff and those held by members of the class he

    or she wishes to represent.” Id.

           As the court then observed, this same requirement of identity of interest also has

    implications for the requirement of Rule 23(a)(4) that a proposed class representative

    adequately protect the interests of the class as a whole. Because “[t]here is a

    constitutional dimension to this part of the inquiry,” “absentee members of a class will

    not be bound by the final result if they were represented by someone who had a conflict



                                                 11
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 12 of 18




    of interest with them or who was otherwise inadequate.” Id. at 586-87. Ensuring that at

    least one class representative is invested in each of the allegedly imprudent options met

    this requirement with more precision than the Spano plaintiff’s proposed global class

    definition.

            The Spano decision played out in a subsequent case, Abbott v. Lockheed

    Martin Corp., 725 F.3d 803 (7th Cir.), cert. denied, 134 S.Ct. 826 (2013). Mindful of

    the court’s ruling in Spano that “‘a class representative in a defined-contribution case

    would at a minimum need to have invested in the same funds as the class members,’”

    the Abbott plaintiffs “proposed separate classes for each of their remaining claims, with

    class membership in each one limited to those Plan participants who invested in the

    relevant funds during the class period.” Abbott, 725 F.3d at 807 (quoting Spano, 613

    F.3d at 586). In addition, the plaintiffs proposed provisionally5 measuring the relative

    success vel non of the challenged investments by reference to an index tracking the


            5
                The court later fleshed out the provisional nature of the reference to this index:

                      [T]he Hueler Index is intended only as a provisional estimate of damages,
                      useful only as a mechanism to ensure that the class meets the
                      requirements of Rule 23; by the time all is said and done, the damages
                      measure will likely become more refined, and it is possible that [the class
                      representative] will be entitled to damages under whatever measure is
                      used. . . . The fact that a plaintiff may have difficulty proving damages
                      does not mean that he cannot have been harmed. [The class
                      representative]'s lack of damages as measured by the Hueler Index
                      suggests that he may have a problem proving the degree of his injury, but
                      Lockheed overreads both Article III's injury-in-fact requirement and the
                      facts in this case when it interprets the absence of damages under the
                      Hueler Index as dispositive proof that [the class representative] was not
                      injured. (It is possible, for instance, that if the Plan had been managed
                      prudently, it might have outperformed the Hueler Index at all times, and
                      thus [the class representative] would have done even better. All of that
                      remains to be shown.)

    Abbott, 725 F.3d at 808. Plaintiffs in this case have offered no similar objection to the benchmark indices
    advocated by defendants in their proposed definitions of the imprudent investment subclasses.

                                                           12
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 13 of 18




    performance of a variety of similar funds over time. Id. “By limiting the SVF class to

    only those Plan participants who suffered harm under this measure, Plaintiffs further

    reasoned that they had avoided including anyone in the class who may have benefited

    [sic] from Lockheed's conduct.” Id. Nevertheless, the district court denied class

    certification.

           On interlocutory appeal, the court determined that the lower court had abused its

    discretion in denying certification and that the proposed class was indeed properly

    defined. While cognizant of Spano’s “warnings that plaintiffs and courts must take care

    to avoid certifying classes in which a significant portion of the class may have interests

    adverse to that of the class representative,” the Abbott court nevertheless noted it had

    “never held, and Spano did not imply, that the mere possibility that a trivial level of

    intra-class conflict may materialize as the litigation progresses forecloses class

    certification entirely.” Id. at 813. Moreover, the court found that “the specifics of the

    [imprudent investment] claim make it unlikely that the sorts of conflicts that concerned

    us in Spano will arise,” because “a Section 502(a)(2) action seeks only to make the

    fiduciary refund to the Plan any losses caused by the breach.” Id. at 814. Because the

    plaintiffs took “care to limit the class to those Plan participants who invested in the SVF

    during the class period” and relied on reference to an index of similar funds as “one

    reasonable way to exclude from the class any persons who did not experience injury,”

    the court found “[t]hese details make all the difference.” Id.

           I am persuaded by the logic of these decisions that plaintiffs’ proposed class

    definition is insufficiently precise insofar as the imprudent investment claims are



                                                 13
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 14 of 18




    concerned. It is not enough for plaintiffs to counter, as they do here, that a more

    broadly defined class is appropriate because the injury is to the Plan itself and damages

    will be paid to the Plan. “It is not enough to say that the named plaintiffs want relief for

    the plan as a whole, if the class is defined so broadly that some members will actually

    be harmed by that relief.” Spano, 633 F.3d at 587. Although the nature of the

    requested relief is collective, that relief is measured by the extent of the injury of the

    individual putative class members who suffered damages as a result of their investment

    in a particular fund. Plaintiffs who suffered no such injury are neither sufficiently typical

    nor adequate to represent the class.

           I thus will approve subclasses of the imprudent investment class defined, for

    now, see FED. R. CIV. P. 23(c)(1)(C), as follows:

                  Imprudent Investment Class A (Artisan Fund): All Plan
                  participants and beneficiaries, excluding defendants, who
                  invested in the Artisan Fund between January 1, 2009, and
                  June 22, 2015, and whose investment in the Fund
                  underperformed relative to the Russell 2000 Index.

                  Imprudent Investment Class B (TCM Fund): All Plan
                  participants and beneficiaries, excluding defendants, who
                  invested in the TCM Fund between January 1, 2009, and
                  April 8, 2013, and whose investment in the Fund
                  underperformed the Russell 2500 Growth Index.

    For similar reasons, because no named class representative invested in the PIMCO

    Fund, I will not certify an imprudent investment class related to that fund at this time.

    Regardless of the merits of their typicality arguments in this regard, plaintiffs nowhere

    address whether their proposed class representatives meet the adequacy requirements

    of Rule 23(a)(4) with respect to this fund. The adequacy of representation requirement



                                                  14
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 15 of 18




    must be “stringently applied,” Albertson's, Inc. v. Amalgamated Sugar Co., 503 F.2d

    459, 463–64 (10th Cir. 1974); Clark v. State Farm Mutual Automobile Insurance Co.,

    245 F.R.D. 478, 485 (D. Colo. 2007), aff’d, 590 F.3d 1134 (10th Cir. 2009), because the

    preclusive effect of any judgment implicates the due process rights of absent members,

    Pelt v. Utah, 539 F.3d 1271, 1284-85 (10th Cir. 2008). Where no named class

    representative is or was invested in the PIMCO Fund, I cannot be adequately assured

    that the interests of the absent PIMCO investors will be sufficiently protected.

           Having thus found appropriate certification of a excessive fees class and two

    imprudent investment subclasses, I turn to the requirements of Rule 23(b). Plaintiffs

    here claim class certification is appropriate under either subpart of Rule 23(b)(1), which

    permits certification if “prosecuting separate actions by or against individual class

    members would create a risk of” either:

                  (A) inconsistent or varying adjudications with respect to
                  individual class members that would establish incompatible
                  standards of conduct for the party opposing the class; or

                  (B) adjudications with respect to individual class members
                  that, as a practical matter, would be dispositive of the
                  interests of the other members not parties to the individual
                  adjudications or would substantially impair or impede their
                  ability to protect their interests[.]

    FED. R. CIV. P. 23(b)(1).

           Defendants do not even address this aspect of plaintiffs’ request for class

    certification, and I find the proposed class satisfies at least the requirements of Rule

    23(b)(1)(A). “Rule 23(b)(1)(A)“takes in cases where the party is obliged by law to treat

    the members of the class alike[.]” Amchem Products, Inc. v. Windsor, 521 U.S. 591,



                                                 15
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 16 of 18




    614, 117 S. Ct. 2231, 2245, 138 L. Ed. 2d 689 (1997) (citation and internal quotation

    marks omitted). Just so here, where the fiduciary duties implicated are owed to all

    members of the various classes. Numerous other courts in this circuit likewise have

    found certification of ERISA class breach of fiduciary actions appropriate under this rule.

    See, e.g., Teets v. Great-West Life & Annuity Insurance Co., 315 F.R.D. 362, 373-74

    (D. Colo. 2016), appeal filed (10th Cir. Jan. 26, 2018) (No. 18-1035); In re Williams

    Companies ERISA Litigation, 231 F.R.D. 416, 424-25 (N.D. Okla. 2005); Baker v.

    Comprehensive Employee Solutions, 227 F.R.D. 354, 360 (D. Utah 2005).

           Next, as required by Rule 23(g), the court must appoint class counsel when a

    class is certified. FED. R. CIV. P. 23(c)(1)(B). Factors relevant to the appointment of

    class counsel are the work counsel has done in identifying or investigating potential

    claims in the action; counsel's experience in handling class actions, other complex

    litigation, and the types of claims asserted in the action; counsel's knowledge of the

    applicable law; and the resources counsel will commit to representing the class. FED.

    R. CIV. P. 23(g)(1)(A)(i)-(iv). Ultimately, the court must conclude that class counsel will

    fairly and adequately represent the interests of the class. FED. R. CIV. P. 23(g)(4).

           Plaintiffs have presented substantial, credible evidence demonstrating the

    experience and competence of their counsel, and defendants have offered nothing to

    suggest otherwise. Plaintiffs’ counsel have pursued class action ERISA litigation on

    behalf of 401(k) participants based on claims similar to those raised here since 2006,

    and have been appointed class counsel in 17 such cases during that time (see Plf.

    Motion App., Exh. 9 ¶¶ 4-6 at 2-3), leading to what one district court characterized as a


                                                16
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 17 of 18




    “well-earned reputation as a pioneer and the leader in the field of retirement plan

    litigation.” Abbott v. Lockheed Martin Corp., 2015 WL 4398475 at *1 (S.D. Ill. July 17,

    2015). Based on counsel's extensive experience in the relevant area of law, and their

    conduct thus far in this case, the court finds and concludes plaintiffs’ counsel is amply

    qualified to act as counsel for the class and thus satisfies the requirements of Fed. R.

    Civ. P. 23(g).

           Finally, under Rule 23(c)(2)(A), the court “may direct appropriate notice to the

    class.” “Thus, Rule 23 did not require that any notice be given” for class actions

    certified under Rule 23(b)(1), Skinner v. Uphoff, 175 Fed. Appx. 255, 258 (10th Cir.

    April 11, 2006), at least not at this point in the proceedings, see FED. R. CIV.

    P. 23(e)(1). The court should exercise its discretion to require notice under this rule

    with care. See FED. R. CIV. P. 23, Adv. Comm. Note (2003 amendments); Skinner,

    175 Fed. Appx. at 258. Because the parties have not addressed the propriety of notice

    in their submissions, I will not direct notice at this time. Should the parties feel notice is

    required or advisable, they of course may submit appropriate motions presenting

    evidence and arguments to guide the exercise of my discretion in that regard.

           THEREFORE, IT IS ORDERED as follows:

           1. That Plaintiffs’ Motion for Class Certification [#104], filed June 30, 2017, is

    granted in part;

           2. That the following plaintiff classes are certified and defined as follows:

                     (1) Excessive Fee Class: All participants and beneficiaries
                     of the Oracle Corporation 401(k) Savings and Investment
                     Plan from January 1, 2009, through the date of judgment,
                     excluding defendants.

                                                  17
Case 1:16-cv-00175-REB-KHR Document 119 Filed 01/30/18 USDC Colorado Page 18 of 18




                       (2) Imprudent Investment Class A (Artisan Fund): All
                       Plan participants and beneficiaries, excluding defendants,
                       who invested in the Artisan Fund between January 1, 2009,
                       and June 22, 2015, and whose investment in the Fund
                       underperformed relative to the Russell 2000 Index.

                       (3) Imprudent Investment Class B (TCM Fund): All Plan
                       participants and beneficiaries, excluding defendants, who
                       invested in the TCM Fund between January 1, 2009, and
                       April 8, 2013, and whose investment in the Fund
                       underperformed the Russell 2500 Growth Index; and

            3. That Schlicter Bogard and Denton, LLP, is appointed as counsel for the

    plaintiff class.

            Dated January 30, 2018, at Denver, Colorado.

                                                       BY THE COURT:




                                                  18
